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  1.2.2.8 Public Disclosure




  1.2.2.9 Incident Reporting




1.2.3 Consequences of Rules Violations




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2          Section II: Identify
This section provides Information Security policy for managing cybersecurity risk to systems,
assets, data, and capabilities. It includes the following categories:

    x   Asset Management (ID.AM);
    x   Business Environment (ID.BE);
    x   Governance (ID.GV);
    x   Risk Assessment (ID.RA); andRisk Management (ID.RM);

2.1 Asset Management




2.1.1 Platform Boundary




2.1.2 Authorized Hardware and Software




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  2.1.2.1 Remediation




2.1.3 Information System Boundary




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2.1.4 IT Systems and Inventory




2.1.5 Information System Interconnections and Information Flow




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2.1.7 CyberSecurity Roles and Responsibilities




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2.2 Business Environment




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                     INFORMATION SECURITY POLICY (ISP)
2.2.1 Contingency Planning




  2.2.1.1 Information System Contingency Planning




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2.2.1.2 Contingency Planning Policy




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2.3 Governance
2.3.1 Information Security Policy




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2.3.2 Security Organization Structure




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2.4 Risk Assessment
2.4.1 Security Assessment and Authorization (SA&A)




  2.4.1.1 The SSA Risk Management Framework (RMF) Process




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  2.4.1.2 System Security Documentation




2.4.2 Threat and Vulnerability Management




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2.4.3 Information System Risk Assessment




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2.4.4 Additional Information




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2.5 Risk Management Strategy
This section provides policy to ensure that the organization’s priorities, constraints, risk
tolerances, and assumptions are established and used to support operational risk decisions.

2.5.1 Risk Management




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2.6 Cybersecurity Supply Chain Risk Management




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3          Section III: Protect
This section provides the policy for developing and implementing safeguards to ensure delivery
of SSA services. It includes the following categories:

    x   Access Control; (PR.AC)
    x   Awareness and Training Data (PR.AT) ;
    x   Data Security (PR.DS);
    x   Information Protection Processes and Procedures (PR.IP);
    x   Maintenance (PR.MA); and
    x   Protective Technology (PR.PT)

3.1 Access Control




3.1.1 Identity and Credential Management




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3.1.1.1 Identity Management




3.1.1.2 Credential Management




   Section 3 Access Control Administration
   Section 3.6 - Application For Access To SSA Systems.




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3.1.1.3 Password Policy




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3.1.2 Remote Access




3.1.3 Account Policy




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3.1.3.1 Access Management




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3.1.3.2 Systems Access Security Administration




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  3.1.3.3 Sanctions for Unauthorized Systems Access




3.1.4 Network Integrity and Protection

  3.1.4.1 Network Segmentation




  3.1.4.2 Split Tunneling




  3.1.4.3 Multi-Homing




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                    INFORMATION SECURITY POLICY (ISP)
3.1.4.4 Modems in SSA Facilities




3.1.4.5 Broadband Internet Connections




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  3.1.4.6 Restricted Hardware and Software




  3.1.4.7 Prohibited Security Practices / Activities




3.1.5 Limited Personal Use of Government Office Equipment, Including IT




3.1.6 Wireless Technology




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3.1.6.1 Mobile Computing Devices




3.1.6.2 Personally Owned Mobile Computing Devices




3.1.6.3 Bluetooth Devices




3.1.6.4 Prohibited Wireless Technology




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  3.1.6.5 Wireless Exception




3.1.7 Web Services Security

  3.1.7.1 Background




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                    INFORMATION SECURITY POLICY (ISP)




3.1.7.2 External Clients (Accessing SSA Web Services from outside of SSANet)




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3.1.8 Cloud Security




  3.1.8.1 Policy




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  3.1.8.2 Agency Security Requirements




  3.1.8.3 Chief Information Officer Approval




3.1.9 Mobile Device Security

  3.1.9.1 Background




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3.1.9.2 International Travel




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3.2 Awareness and Training
The following subsections provide policy and guidance related to the agency’s annual
information security training requirements

3.2.1 Information Security Training and Awareness Policy




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3.2.2 Role-Based Training for Personnel with Significant Cybersecurity
          Responsibilities




3.2.3 Training Records Retention




3.2.4 Agency Reporting of Information Security Training




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3.3 Data Security



3.3.1 Protection of Information in Transit and at Rest




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  3.3.1.1 Laptop Encryption




  3.3.1.2 Removable Media Encryption




  3.3.1.3 Key Management




3.3.2 Data Protection throughout the Lifecycle

  3.3.2.1 Data Custodianship




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3.3.2.2 Information Sharing




3.3.2.3 External Information Systems




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3.3.2.4 Handling and Exchange




3.3.2.5 Data Definitions




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3.3.3 Data Integrity

  3.3.3.1 Automated Integrity Reviews




3.3.4 IT Equipment Safeguards




3.3.5 Secure Email Use Policy




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3.3.6 Secure Fax Use Policy




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3.3.7 Prohibited Security Practices / Activities




3.3.8 IRS Federal Tax Information (FTI)




  3.3.8.1 Directive




  3.3.8.2 What is FTI?




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                    INFORMATION SECURITY POLICY (ISP)




3.3.8.3 Taxpayer First Act (TFA)




3.3.8.4 Sanctions and Unauthorized Inspection — Important Reminders to All
        Employees and Contractors to SSA




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3.3.10   Records Retention Policy




3.3.11   Mandatory Encryption of Electronic Data on Mobile Computers and
         Devices




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3.3.12   Other Agency Guidance on Email/Fax Not Listed Above




3.3.13   Paper Records Disposal




3.4 Information Protection Process Policy


3.4.1 Configuration Management




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3.4.1.1 Security Configuration Standards




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  3.4.1.2 Configuration Management Plan




  3.4.1.3 Exceptions




3.4.2 System Development Lifecycle Security




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3.4.2.1 Information Technology (IT) Security Requirements for Agency Acquisitions




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3.4.2.1.1 Contracts Involving IT Systems




3.4.3 Web Application Development Policy

  3.4.3.1 Web Application Development Rules




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3.4.4   Configuration Change Control




3.4.5   System Backup




3.4.6 Media Sanitization




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3.4.7 Continuous Monitoring




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3.4.8 Incident Response




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3.4.9 Personnel Security




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3.4.9.1 Determining Proper Risk Levels




3.4.9.2 Background Investigations




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  3.4.9.3 Personnel Transfer




  3.4.9.4 Sensitive Position Changes




3.5 Maintenance
3.5.1 Maintenance Policy




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3.5.2 Controlled Maintenance




3.5.3 Remote Maintenance




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3.5.4 Maintenance Personnel




3.6 Protective Technology
3.6.1 System Logging Requirements




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3.6.1.1 Logged Events




3.6.1.2 Log Review




3.6.1.3 Event Log Access




3.6.1.4 Log Format and Storage




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3.6.2 Individuals of Extraordinary National Prominence (IENP) and Own SSN
          Requirements




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3.6.3 Removable Media and Protection from Data Loss Policy




  3.6.3.1 Media Protection




  3.6.3.2 Removable Media Devices




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3.6.3.3 Data Loss Protection




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  3.6.3.4 Local Manager Responsibilities




3.6.4 Access Enforcement




3.6.5 Communication and Control Network Protection

  3.6.5.1 Network Boundary Protection




  3.6.5.2 Network Control Devices




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3.6.5.3 Peer-to-Peer (P2P) and Web Conferencing / Collaboration Technologies




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3.6.5.4 Instant Messaging




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4          Section IV: Detect
This section provides the Information Security policy for developing the organizational
understanding to identify the occurrence of a cybersecurity event. It includes the following
categories.

    x   Anomalies and Events (DE.AE);
    x   Security Continuous Monitoring (DE.CM); and
    x   Detection Processes (DE.DP)

4.1 Anomalies and Events




4.1.1 Network and Security Operations




4.1.2 Security Event Analysis and Response




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4.1.3 Reporting




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4.1.3.1 Incidents Relating to Program and Employee Fraud




4.1.3.2 Reporting Loss of Personally Identifiable Information (PII)




4.1.3.3 Reporting Unauthorized Federal Tax Information (FTI) Access or Improper FTI
        Disclosure




4.1.3.4 Criminal Violations and Fraud Policy




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4.1.3.4.1 Violations Reporting Process




4.1.3.4.2 Programmatic Violations




4.1.3.4.3 Employee Fraud




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                      INFORMATION SECURITY POLICY (ISP)
4.1.3.4.4 Request for Assistance by SSA OIG




4.1.3.4.5 Request for Information by Other Law Enforcement Agencies and Investigators




4.2 Security Continuous Monitoring




4.2.1 Personnel Activity Monitoring




4.2.2 Malicious Code Detection




4.2.3 Service Provider Monitoring




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                     INFORMATION SECURITY POLICY (ISP)
4.2.4 Monitoring for Unauthorized Connections, Devices, and Software




4.2.5 Monitoring for Software, Firmware and Information Integrity




4.2.6 Vulnerability Scanning




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5          Section V: Respond
This section oulines the agency’s policy for responding to a detected cybersecurity event. It includes
the following categories.

    x   Response Planning (RS.RP);
    x   Communications (RS.CO);
    x   Analysis (RS.AN); and
    x   Mitigation (RS.MI)

5.1 Response Planning




5.2 Communications




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5.2.1 Security Event Notification




5.3 Analysis



5.3.1 Impact Analysis




5.4 Mitigation



5.4.1 Incident Handling




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5.4.2 Information Sharing and Reporting




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6        Section VI: Recover




6.1 Recovery Planning




6.2 Improvements




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7        Section VII: Appendices




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      Employee 1




Employee 1




                                                                        Employee 1




                                                                    AFSCME Case 000529
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Employee 4




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Employee 4
                                                       Employee 4




                                                                    AFSCME Case 000532
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Employee 6




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   3/14/25                                                                                                                       1
                                                   EXPERT OR CONSULTANT
                                            APPOINTMENT REQUEST & CERTIFICATION
                                                     (Submit with Resume)

     1.    NAME OF PERSON (Last, first, middle initial)                    2.   TOTAL PERIOD FOR WHICH APPOINTMENT IS
    Employee 11                                                                 REQUESTED (entire year (365) days or a shorter
                                                                                period). List dates from beginning to end
                                                                                month/day/year. 365 days
     3.    MAILING ADDRESS
                                                                           4.   APPROXIMATE NUMBER OF DAYS PERSON IS
                                                                                EXPECTED TO PERFORM SERVICES DURING
                                                                                THIS PERIOD. 365 days



   5.     SERVICES TO BE PERFORMED
   A.     EXPLAIN IN FULL DETAIL THE NON-CONTINUOUS/TEMPORARY NATURE OF THE WORK TO BE PERFORMED AND THE
          NECESSITY FOR THE POSITION TO ACTUALLY REQUIRE AN EXPERT’S OR CONSULTANT’S SERVICES AS OPPOSED TO A
          REGULAR GOVERNMENT EMPLOYEE, OR IN THE CASE OF A REAPPOINTMENT (WITH SAME DUTIES), THE CONTINUING NEED
          FOR THE SERVICES OF AN EXPERT OR CONSULTANT (AND HOURS/DAYS WORKED IN PRECEDING YEAR).



   SSA is facing significant issues that require immediate attention. Two of the most substantial areas in need of
   timely attention include: (1) Numident records with death data and (2) Payment data, focused on reducing
   improper payments.

   B.     SPECIFY WHAT DUTIES WILL BE ASSIGNED THAT WILL INVOLVE THE PERSON IN THE TRANSACTION OF BUSINESS ON
          BEHALF OF THE GOVERNMENT WITH ANY PROFIT OR NON-PROFIT ORGANIZATION.



               1.      Evaluate the death information available on SSA’s Numident record with death data
                       available in “Do Not Pay” file and analyze any data differences. If necessary, offer
                       recommendations for improvements;

             2.        Review prior audits and studies concerning improvements to SSA’s Numident death
                       records and assess the current process used by SSA to obtain death information for SSA’s
                       programs and offer recommendations for improvement of the process by which
                       information is obtained;

             3.        Prepare recommendations related to the duties above and, without using the active
                       production system, provide examples of code improvements;

             4.        Conduct analysis of SSA payment data to reduce concerns with improper payments.
                       This will include analyzing data of SSA current payments to beneficiaries against
                       other SSA records to identify potential improper payments; and

             5.       Data needed to perform the analysis will be SSA payment files sent to Treasury and
                      potentially the Numident, Master Beneficiary Record (MBR), and Supplemental
                      Security Record (SSR). Security controls will be implemented to prevent detailee from
                      accessing or viewing sensitive data within any of these records.

In Performance of His Work, Expert Shall:

               1.      Report to and be supervised by the Commissioner of the Social Security Administration or
                       his or her designee when performing SSA work. In all circumstances, Expert will comply
                       with all instructions, rules, regulations, and restrictions of the supervising agency.

                                                                                             AFSCME Case 000539
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3/14/25                                                                                                                                                                                       2
               2.          Not knowingly take any actions that undermine SSA’s responsibilities under governing
                           statutes, regulations, or directives, including but not limited to FISMA, FITARA, the
                           Privacy Act, the Federal Acquisition Regulation, and the Trade Secrets Act.
               3.          Not knowingly take any measures that create cybersecurity risks to SSA systems.
               4.          Not knowingly access SSA systems in a manner that fails to comply with all relevant
                           federal, security, ethics, and confidentiality laws, regulations, and policies, including SSA
                           records management and information security requirements.
               5.          Not access, or attempt to access, classified information without proper security clearance.
               6.          Access SSA data, information, and systems for only legitimate purposes, including but not
                           limited to IT modernization, the facilitation of SSA operations, and the improvement of
                           Government efficiency.
               7.          Comply with the requirements of the Privacy Act for information that SSA collects on
                           individuals, including, if necessary, publishing or amending Systems of Records Notices
                           to adequately account for the information it collects.
               8.          With permission of the assigned SSA supervisor, securely destroy or erase copied SSA
                           data or information when no longer needed for official SSA purposes. Prior to access,
                           disclosure, and other handling of any personally identifiable information in SSA records,
                           ensure permission from the assigned SSA supervisor for such action, to ensure authority
                           exists for access, disclosure, or handling.
               9.          To the greatest extent possible, use the program agency system documentation to
                           understand how to use the data and information which is being accessed.
               10.         Remains subject to the Standards for Ethical Conduct for Employees of the Executive
                           Branch as noted by 5 C.F.R. Part 2635.
               11.         Is bound by any other laws and regulations applicable to Federal employees including, but
                           not limited to, representations as attorney or agent for any person (18 U.S.C. Sections 203
                           and 205); political activity (Hatch Act, 5 U.S.C. Sections 7321-7326); financial conflicts
                           of interest (18 U.S.C. Section 208); post- employment restrictions (18 U.S.C. Section
                           207); and salary supplementation prohibitions (18 U.S.C. Section 209);


C.    SPECIFY WHAT DUTIES WILL BE ASSIGNED THAT WILL INVOLVE THE PERSON IN THE RENDERING OF ADVICE TO THE
      GOVERNMENT WHICH WILL HAVE DIRECT AND PREDICTABLE EFFECT ON THE INTERESTS OF ANY PROFIT OR NON-PROFIT
      ORGANIZATION.

None

6. SPECIAL QUALIFICATIONS OF THE PERSON RECOMMENDED FOR APPOINTMENT (List those which relate specifically to the
       services to be performed.
-----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

Employee 11
           is a Senior Software Engineer with over ten years of experience building cloud-native geospatial
solutions. Adept at architecting geospatial infrastructures, implementing geospatial algorithms, and leading full-
stack development. Experienced in collaborating with cross-functional teams to deliver mission-critical capabilities
and driving technical decisions and best practices.




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Employee 9




                                                            AFSCME Case 000542
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                                                       AFSCME Case 000545
Standard Form 50
Rev. 7/91                          Case 1:25-cv-00596-ELH  Document
                                                    NOTIFICATION    121-5 FiledACTION
                                                                 OF PERSONNEL   04/09/25                                                                                      Page 136 of 205
U.S. Office of Personnel Management
FPM Supp. 296í33, Subch. 4

1. Name (Last, First, Middle)                                                                                          2. Social Security Number           3. Date of Birth               4. Effective Date
Employee 11                                                                                                                                                                                    03/16/2025

FIRST ACTION                                                                                                        SECOND ACTION
  5íA. Code                    5íB. Nature of Action                                                                6íA. Code                  6íB. Nature of Action
          171                   EXC APPT NTE 03-15-26
  5íC. Code                    5íD. Legal Authority                                                                 6íC. Code                   6íD. Legal Authority
          H2L                   REG 304.103
  5íE. Code                    5íF. Legal Authority                                                                 6íE. Code                   6íF. Legal Authority


7. FROM: Position Title and Number                                                                                  15. TO: Position Title and Number
                                                                                                                    EXPERT
                                                                                                                    EXPERT
                                                                                                                    S4C    KNX0390
8. Pay Plan 9. Occ. Code           10. Grade or Level 11. Step or Rate 12. Total Salary           13. Pay Basis     16. Pay Plan     17. Occ. Code    18. Grade or Level 19.Step or Rate 20. Total Salary/Award     21. Pay Basis
                                                                                                                       ED              0301               00                  00           $162672.00                   PA
12A. Basic Pay                 12B. Locality Adj.              12C. Adj. Basic Pay            12D. Other Pay        20A. Basic Pay                    20B. Locality Adj.       20C. Adj. Basic Pay     20D. Other Pay
                                                                                                                       $162672.00                       $0.00                      $162672.00               $0.00
14. Name and Location of Position’s Organization                                                                    22. Name and Location of Position’s Organization
                                                                                                                    SZ00 SOCIAL SECURITY ADMINISTRATION
                                                                                                                    CHIEF INFORMATION OFFICER
                                                                                                                    OFFICE OF CHIEF INFORMATION OFFICER




EMPLOYEE DATA
23. Veterans Preference                                                                                             24. Tenure                                    25. Agency Use         26. Veterans Preference for RIF
                 1 í None           3 í 10íPoint/Disability            5 í 10íPoint/Other                                      0 í None         2 í Conditional
      1          2 í 5íPoint        4 í 10íPoint/Compensable           6 í 10íPoint/Compensable/30%                     0      1 í Permanent    3 í Indefinite                                   YES     X        NO
27. FEGLI                                                                                                           28. Annuitant Indicator                                              29. Pay Rate Determinant
   A0           EMPLOYEE IN A POSITION EXCLUDED FROM FEGLI COVERAG 9                                                           NOT APPLICABLE                                              0
 30. Retirement Plan                                                         31. Service Comp. Date (Leave) 32. Work Schedule                                                            33. PartíTime Hours Per
                                                                                                                                                                                                   Biweekly
  2         FICA                                                              03/16/2025                               F       FULL-TIME                                                            Pay Period
 POSITION DATA
 34. Position Occupied                                                       35. FLSA Category                      36. Appropriation Code                                               37. Bargaining Unit Status
            1 í Competitive Service      3 í SES General                                  E í Exempt
  2         2 í Excepted Service         4 í SES Career Reserved
                                                                                E         N í Nonexempt             4003431                                                               8888
 38. Duty Station Code                                                       39. Duty Station (City í County í State or Overseas Location)
 24-1698-005                                                                 WOODLAWN,BALTIMORE,MARYLAND
40. Agency Data                    41.                                 42.                                43.                          44.
FUNC CLS 00                        VET STAT X                         EDUC LVL 17                     SUPV STAT 8                      POSITION SENSITIVITY CRITICAL-SENSITIVE

 45. Remarks
  APPOINTMENT AFFIDAVIT EXECUTED 03-17-25.
  PREVIOUS RETIREMENT COVERAGE: NEVER COVERED
  REASON FOR TEMPORARY APPOINTMENT EVALUATE THE DEATH INFORMATION AVAILABLE
  AND OFFER RECOMMENDATIONS FOR IMPROVEMENTS; REVIEW PRIOR AUDITS AND
  STUDIES CONCERNING DEATH RECORDS AND ASSESS THE CURRENT PROCESS
  USED TO OBTAIN DEATH INFORMATION AND OFFER RECOMMENDATIONS FOR
  IMPROVEMENT WITHOUT USING THE ACTIVE PRODUCTION SYSTEM; CONDUCT
  ANALYSIS OF SSA PAYMENT DATA TO REDUCE CONCERNS WITH IMPROPER
  PAYMENTS
  YOU ARE SUBJECT TO REGULATIONS GOVERNING CONDUCT AND RESPONSIBILITIES OF SPECIAL GOVERNMENT EMPLOYEES.




46. Employing Department or Agency                                                                                50. Signature/Authentication and Title of Approving Official
  SZ - SOCIAL SECURITY ADMIN                                                                                      250997871 / ELECTRONICALLY SIGNED BY:
47. Agency Code                48. Personnel Office ID                  49. Approval Date
 SZ00                              1166                                 03/16/2025                                DIRECTOR, OESS
5íPart 50í316
                                                                        2 - OPF Copy - Long-Term Record - DO NOT DESTROY                                            AFSCME Editions
                                                                                                                                                                           Case         000546NSN 7540í01í333í6238
                                                                                                                                                                                    Prior to 7/91 Are Not Usable After 6/30/93
             Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 137 of 205


Employee 4




                         Employee 4




                                                                    AFSCME Case 000547
Standard Form 50
Rev. 7/91                          Case 1:25-cv-00596-ELH  Document
                                                    NOTIFICATION    121-5 FiledACTION
                                                                 OF PERSONNEL   04/09/25                                                                                      Page 138 of 205
U.S. Office of Personnel Management
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1. Name (Last, First, Middle)                                                                                          2. Social Security Number           3. Date of Birth               4. Effective Date
Employee 1                                                                                                                                                                                     02/09/2025

FIRST ACTION                                                                                                        SECOND ACTION
  5íA. Code                    5íB. Nature of Action                                                                6íA. Code                  6íB. Nature of Action
          171                   EXC APPT NTE 02-08-26
  5íC. Code                    5íD. Legal Authority                                                                 6íC. Code                   6íD. Legal Authority
          ZLM                   5 U.S.C. 3109
  5íE. Code                    5íF. Legal Authority                                                                 6íE. Code                   6íF. Legal Authority


7. FROM: Position Title and Number                                                                                  15. TO: Position Title and Number
                                                                                                                    EXPERT
                                                                                                                    EXPERT
                                                                                                                    S4C    KNX0350
8. Pay Plan 9. Occ. Code           10. Grade or Level 11. Step or Rate 12. Total Salary           13. Pay Basis     16. Pay Plan     17. Occ. Code    18. Grade or Level 19.Step or Rate 20. Total Salary/Award     21. Pay Basis
                                                                                                                       ED              0301               00                  00           $90025.00                    PA
12A. Basic Pay                 12B. Locality Adj.              12C. Adj. Basic Pay            12D. Other Pay        20A. Basic Pay                    20B. Locality Adj.       20C. Adj. Basic Pay     20D. Other Pay
                                                                                                                       $90025.00                        $0.00                      $90025.00                $0.00
14. Name and Location of Position’s Organization                                                                    22. Name and Location of Position’s Organization
                                                                                                                    SZ00 SOCIAL SECURITY ADMINISTRATION
                                                                                                                    CHIEF INFORMATION OFFICER
                                                                                                                    OFFICE OF CHIEF INFORMATION OFFICER




EMPLOYEE DATA
23. Veterans Preference                                                                                             24. Tenure                                    25. Agency Use         26. Veterans Preference for RIF
                 1 í None           3 í 10íPoint/Disability            5 í 10íPoint/Other                                      0 í None         2 í Conditional
      1          2 í 5íPoint        4 í 10íPoint/Compensable           6 í 10íPoint/Compensable/30%                     0      1 í Permanent    3 í Indefinite                                   YES     X        NO
27. FEGLI                                                                                                           28. Annuitant Indicator                                              29. Pay Rate Determinant
   A0           EMPLOYEE IN A POSITION EXCLUDED FROM FEGLI COVERAG 9                                                           NOT APPLICABLE                                              0
 30. Retirement Plan                                                         31. Service Comp. Date (Leave) 32. Work Schedule                                                            33. PartíTime Hours Per
                                                                                                                                                                                                   Biweekly
  2         FICA                                                              02/09/2025                               F       FULL-TIME                                                            Pay Period
 POSITION DATA
 34. Position Occupied                                                       35. FLSA Category                      36. Appropriation Code                                               37. Bargaining Unit Status
            1 í Competitive Service      3 í SES General                                  E í Exempt
  2         2 í Excepted Service         4 í SES Career Reserved
                                                                                N         N í Nonexempt             4003431                                                               8888
 38. Duty Station Code                                                       39. Duty Station (City í County í State or Overseas Location)
 24-1698-005                                                                 WOODLAWN,BALTIMORE,MARYLAND
40. Agency Data                    41.                                 42.                                43.                          44.
FUNC CLS 00                        VET STAT X                         EDUC LVL                        SUPV STAT 8                      POSITION SENSITIVITY CRITICAL-SENSITIVE

 45. Remarks
  APPOINTMENT AFFIDAVIT EXECUTED 02/10/25.
  PREVIOUS RETIREMENT COVERAGE: NEVER COVERED
  REASON FOR TEMPORARY APPOINTMENT TO PERFORM ANALYSIS OF SSA PAYMENT DATA TO
  REDUCE CONCERNS RAISED BY THE ADMINISTRATION.
  CREDITABLE MILITARY SERVICE: NONE
  YOU ARE SUBJECT TO REGULATIONS GOVERNING CONDUCT AND RESPONSIBILITIES OF SPECIAL GOVERNMENT EMPLOYEES.




46. Employing Department or Agency                                                                                50. Signature/Authentication and Title of Approving Official
  SZ - SOCIAL SECURITY ADMIN                                                                                      250644169 / ELECTRONICALLY SIGNED BY:
47. Agency Code                48. Personnel Office ID                  49. Approval Date
 SZ00                              1166                                 02/09/2025                                DIRECTOR, OESS
5íPart 50í316
                                                                        2 - OPF Copy - Long-Term Record - DO NOT DESTROY                                            AFSCME Editions
                                                                                                                                                                           Case         000548NSN 7540í01í333í6238
                                                                                                                                                                                    Prior to 7/91 Are Not Usable After 6/30/93
Standard Form 50
Rev. 7/91                          Case 1:25-cv-00596-ELH  Document
                                                    NOTIFICATION    121-5 FiledACTION
                                                                 OF PERSONNEL   04/09/25                                                                                      Page 139 of 205
U.S. Office of Personnel Management
FPM Supp. 296í33, Subch. 4

1. Name (Last, First, Middle)                                                                                          2. Social Security Number           3. Date of Birth                4. Effective Date
Employee 4                                                                                                                                                                                      02/23/2025

FIRST ACTION                                                                                                        SECOND ACTION
  5íA. Code                    5íB. Nature of Action                                                                6íA. Code                  6íB. Nature of Action
          171                   EXC APPT NTE 02-22-26
  5íC. Code                    5íD. Legal Authority                                                                 6íC. Code                   6íD. Legal Authority
          H2L                   REG 304.103
  5íE. Code                    5íF. Legal Authority                                                                 6íE. Code                   6íF. Legal Authority


7. FROM: Position Title and Number                                                                                  15. TO: Position Title and Number
                                                                                                                    EXPERT
                                                                                                                    EXPERT
                                                                                                                    S4C    KNX0370
8. Pay Plan 9. Occ. Code           10. Grade or Level 11. Step or Rate 12. Total Salary           13. Pay Basis     16. Pay Plan     17. Occ. Code    18. Grade or Level 19.Step or Rate 20. Total Salary/Award      21. Pay Basis
                                                                                                                       ED              0301               00                  00            $0.00                        WC
12A. Basic Pay                 12B. Locality Adj.              12C. Adj. Basic Pay            12D. Other Pay        20A. Basic Pay                    20B. Locality Adj.       20C. Adj. Basic Pay      20D. Other Pay
                                                                                                                       $0.00                            $0.00                      $0.00                     $0.00
14. Name and Location of Position’s Organization                                                                    22. Name and Location of Position’s Organization
                                                                                                                    SZ00 SOCIAL SECURITY ADMINISTRATION
                                                                                                                    CHIEF INFORMATION OFFICER
                                                                                                                    OFFICE OF CHIEF INFORMATION OFFICER




EMPLOYEE DATA
23. Veterans Preference                                                                                             24. Tenure                                    25. Agency Use           26. Veterans Preference for RIF
                 1 í None           3 í 10íPoint/Disability            5 í 10íPoint/Other                                      0 í None         2 í Conditional
      1          2 í 5íPoint        4 í 10íPoint/Compensable           6 í 10íPoint/Compensable/30%                     0      1 í Permanent    3 í Indefinite                                    YES     X       NO
27. FEGLI                                                                                                           28. Annuitant Indicator                                                29. Pay Rate Determinant
   A0           EMPLOYEE IN A POSITION EXCLUDED FROM FEGLI COVERAG 9                                                           NOT APPLICABLE                                               0
 30. Retirement Plan                                                         31. Service Comp. Date (Leave) 32. Work Schedule                                                              33. PartíTime Hours Per
                                                                                                                                                                                                     Biweekly
  2         FICA                                                              02/23/2025                                I      INTERMITTENT                                                           Pay Period
 POSITION DATA
 34. Position Occupied                                                       35. FLSA Category                      36. Appropriation Code                                                 37. Bargaining Unit Status
            1 í Competitive Service      3 í SES General                                  E í Exempt
  2         2 í Excepted Service         4 í SES Career Reserved
                                                                                E         N í Nonexempt             4003431                                                                8888
 38. Duty Station Code                                                       39. Duty Station (City í County í State or Overseas Location)
 24-1698-005                                                                 WOODLAWN,BALTIMORE,MARYLAND
40. Agency Data                    41.                                 42.                                43.                          44.
FUNC CLS 00                        VET STAT X                         EDUC LVL                        SUPV STAT 8                      POSITION SENSITIVITY CRITICAL-SENSITIVE

 45. Remarks
  APPOINTMENT AFFIDAVIT EXECUTED 02-24-25.
  PREVIOUS RETIREMENT COVERAGE: NEVER COVERED
  REASON FOR TEMPORARY APPOINTMENT REVIEW PRIOR AUDITS AND STUDIES CONCERNING
  IMPROVEMENTS TO SSA'S NUMIDENT DEATH RECORDS AND ASSESS THE CURRENT
  PROCESS USED BY SSA TO OBTAIN DEATH INFORMATION FOR SSA'S PROGRAMS
  AND OFFER RECOMMENDATIONS FOR IMPROVEMENT.
  CONDUCT ANALYSIS OF SSA PAYMENT DATA TO REDUCE CONCERNS IMPROPER
  PAYMENTS
  YOU ARE SUBJECT TO REGULATIONS GOVERNING CONDUCT AND RESPONSIBILITIES OF SPECIAL GOVERNMENT EMPLOYEES.




46. Employing Department or Agency                                                                                50. Signature/Authentication and Title of Approving Official
  SZ - SOCIAL SECURITY ADMIN                                                                                      250727437 / ELECTRONICALLY SIGNED BY:
47. Agency Code                48. Personnel Office ID                  49. Approval Date
 SZ00                              1166                                 02/23/2025                                DIRECTOR, OESS
5íPart 50í316
                                                                        2 - OPF Copy - Long-Term Record - DO NOT DESTROY                                            AFSCME Editions
                                                                                                                                                                           Case         000549NSN 7540í01í333í6238
                                                                                                                                                                                    Prior to 7/91 Are Not Usable After 6/30/93
Standard Form 50
Rev. 7/91                          Case 1:25-cv-00596-ELH  Document
                                                    NOTIFICATION    121-5 FiledACTION
                                                                 OF PERSONNEL   04/09/25                                                                                      Page 140 of 205
U.S. Office of Personnel Management
FPM Supp. 296í33, Subch. 4

1. Name (Last, First, Middle)                                                                                          2. Social Security Number           3. Date of Birth                4. Effective Date
Employee 6                                                                                                                                                                                      02/23/2025

FIRST ACTION                                                                                                        SECOND ACTION
  5íA. Code                    5íB. Nature of Action                                                                6íA. Code                  6íB. Nature of Action
          171                   EXC APPT NTE 02-22-26
  5íC. Code                    5íD. Legal Authority                                                                 6íC. Code                   6íD. Legal Authority
          H2L                   REG 304.103
  5íE. Code                    5íF. Legal Authority                                                                 6íE. Code                   6íF. Legal Authority


7. FROM: Position Title and Number                                                                                  15. TO: Position Title and Number
                                                                                                                    EXPERT
                                                                                                                    EXPERT
                                                                                                                    S4C    KNX0360
8. Pay Plan 9. Occ. Code           10. Grade or Level 11. Step or Rate 12. Total Salary           13. Pay Basis     16. Pay Plan     17. Occ. Code    18. Grade or Level 19.Step or Rate 20. Total Salary/Award      21. Pay Basis
                                                                                                                       ED              0301               00                  00            $0.00                        WC
12A. Basic Pay                 12B. Locality Adj.              12C. Adj. Basic Pay            12D. Other Pay        20A. Basic Pay                    20B. Locality Adj.       20C. Adj. Basic Pay      20D. Other Pay
                                                                                                                       $0.00                            $0.00                      $0.00                     $0.00
14. Name and Location of Position’s Organization                                                                    22. Name and Location of Position’s Organization
                                                                                                                    SZ00 SOCIAL SECURITY ADMINISTRATION
                                                                                                                    CHIEF INFORMATION OFFICER
                                                                                                                    OFFICE OF CHIEF INFORMATION OFFICER




EMPLOYEE DATA
23. Veterans Preference                                                                                             24. Tenure                                    25. Agency Use           26. Veterans Preference for RIF
                 1 í None           3 í 10íPoint/Disability            5 í 10íPoint/Other                                      0 í None         2 í Conditional
      1          2 í 5íPoint        4 í 10íPoint/Compensable           6 í 10íPoint/Compensable/30%                     0      1 í Permanent    3 í Indefinite                                    YES     X       NO
27. FEGLI                                                                                                           28. Annuitant Indicator                                                29. Pay Rate Determinant
   A0           EMPLOYEE IN A POSITION EXCLUDED FROM FEGLI COVERAG 9                                                           NOT APPLICABLE                                               0
 30. Retirement Plan                                                         31. Service Comp. Date (Leave) 32. Work Schedule                                                              33. PartíTime Hours Per
                                                                                                                                                                                                     Biweekly
  2         FICA                                                              02/23/2025                                I      INTERMITTENT                                                           Pay Period
 POSITION DATA
 34. Position Occupied                                                       35. FLSA Category                      36. Appropriation Code                                                 37. Bargaining Unit Status
            1 í Competitive Service      3 í SES General                                  E í Exempt
  2         2 í Excepted Service         4 í SES Career Reserved
                                                                                E         N í Nonexempt             4003431                                                                8888
 38. Duty Station Code                                                       39. Duty Station (City í County í State or Overseas Location)
 24-1698-005                                                                 WOODLAWN,BALTIMORE,MARYLAND
40. Agency Data                    41.                                 42.                                43.                          44.
FUNC CLS 00                        VET STAT X                         EDUC LVL 13                     SUPV STAT 8                      POSITION SENSITIVITY CRITICAL-SENSITIVE

 45. Remarks
  APPOINTMENT AFFIDAVIT EXECUTED 02-24-25.
  PREVIOUS RETIREMENT COVERAGE: NEVER COVERED
  REASON FOR TEMPORARY APPOINTMENT REVIEW PRIOR AUDITS AND STUDIES CONCERNING
  IMPROVEMENTS TO SSA'S NUMIDENT DEATHRECORDS AND ASSESS THE CURRENT
  PROCESS USED BY SSA TO OBTAIN DEATH INFORMATION FOR SSA PROGRAMS AND
  OFFER RECOMMENDATIONS FOR IMPROVEMENT OF THE PROCESS;
  CONDUCT ANALYSIS OF SSA PAYMENT DATA TO REDUCE CONCERNS IMPROPER
  PAYMENTS.
  YOU ARE SUBJECT TO REGULATIONS GOVERNING CONDUCT AND RESPONSIBILITIES OF SPECIAL GOVERNMENT EMPLOYEES.




46. Employing Department or Agency                                                                                50. Signature/Authentication and Title of Approving Official
  SZ - SOCIAL SECURITY ADMIN                                                                                      250726329 / ELECTRONICALLY SIGNED BY:
47. Agency Code                48. Personnel Office ID                  49. Approval Date
 SZ00                              1166                                 02/23/2025                                DIRECTOR, OESS
5íPart 50í316
                                                                        2 - OPF Copy - Long-Term Record - DO NOT DESTROY                                            AFSCME Editions
                                                                                                                                                                           Case         000550NSN 7540í01í333í6238
                                                                                                                                                                                    Prior to 7/91 Are Not Usable After 6/30/93
Standard Form 50
Rev. 7/91                          Case 1:25-cv-00596-ELH  Document
                                                    NOTIFICATION    121-5 FiledACTION
                                                                 OF PERSONNEL   04/09/25                                                                                      Page 141 of 205
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FPM Supp. 296í33, Subch. 4

1. Name (Last, First, Middle)                                                                                          2. Social Security Number           3. Date of Birth                4. Effective Date
Employee 9                                                                                                                                                                                      02/23/2025

FIRST ACTION                                                                                                        SECOND ACTION
  5íA. Code                    5íB. Nature of Action                                                                6íA. Code                  6íB. Nature of Action
          171                   EXC APPT NTE 02-22-26
  5íC. Code                    5íD. Legal Authority                                                                 6íC. Code                   6íD. Legal Authority
          H2L                   REG 304.103
  5íE. Code                    5íF. Legal Authority                                                                 6íE. Code                   6íF. Legal Authority


7. FROM: Position Title and Number                                                                                  15. TO: Position Title and Number
                                                                                                                    EXPERT
                                                                                                                    EXPERT
                                                                                                                    S4C    KNX0380
8. Pay Plan 9. Occ. Code           10. Grade or Level 11. Step or Rate 12. Total Salary           13. Pay Basis     16. Pay Plan     17. Occ. Code    18. Grade or Level 19.Step or Rate 20. Total Salary/Award      21. Pay Basis
                                                                                                                       ED              0301               00                  00            $0.00                        WC
12A. Basic Pay                 12B. Locality Adj.              12C. Adj. Basic Pay            12D. Other Pay        20A. Basic Pay                    20B. Locality Adj.       20C. Adj. Basic Pay      20D. Other Pay
                                                                                                                       $0.00                            $0.00                      $0.00                     $0.00
14. Name and Location of Position’s Organization                                                                    22. Name and Location of Position’s Organization
                                                                                                                    SZ00 SOCIAL SECURITY ADMINISTRATION
                                                                                                                    CHIEF INFORMATION OFFICER
                                                                                                                    OFFICE OF CHIEF INFORMATION OFFICER




EMPLOYEE DATA
23. Veterans Preference                                                                                             24. Tenure                                    25. Agency Use           26. Veterans Preference for RIF
                 1 í None           3 í 10íPoint/Disability            5 í 10íPoint/Other                                      0 í None         2 í Conditional
      1          2 í 5íPoint        4 í 10íPoint/Compensable           6 í 10íPoint/Compensable/30%                     0      1 í Permanent    3 í Indefinite                                    YES     X       NO
27. FEGLI                                                                                                           28. Annuitant Indicator                                                29. Pay Rate Determinant
   A0           EMPLOYEE IN A POSITION EXCLUDED FROM FEGLI COVERAG 9                                                           NOT APPLICABLE                                               0
 30. Retirement Plan                                                         31. Service Comp. Date (Leave) 32. Work Schedule                                                              33. PartíTime Hours Per
                                                                                                                                                                                                     Biweekly
  2         FICA                                                              02/23/2025                                I      INTERMITTENT                                                           Pay Period
 POSITION DATA
 34. Position Occupied                                                       35. FLSA Category                      36. Appropriation Code                                                 37. Bargaining Unit Status
            1 í Competitive Service      3 í SES General                                  E í Exempt
  2         2 í Excepted Service         4 í SES Career Reserved
                                                                                E         N í Nonexempt             4003431                                                                8888
 38. Duty Station Code                                                       39. Duty Station (City í County í State or Overseas Location)
 24-1698-005                                                                 WOODLAWN,BALTIMORE,MARYLAND
40. Agency Data                    41.                                 42.                                43.                          44.
FUNC CLS 00                        VET STAT X                         EDUC LVL                        SUPV STAT 8                      POSITION SENSITIVITY CRITICAL-SENSITIVE

 45. Remarks
  APPOINTMENT AFFIDAVIT EXECUTED 02-23-25.
  PREVIOUS RETIREMENT COVERAGE: NEVER COVERED
  REASON FOR TEMPORARY APPOINTMENT REVIEW PRIOR AUDITS AND STUDIES CONCERNING
  IMPROVEMENTS TO SSA'S NUMIDENT DEATH RECORDS AND ASSESS THE CURRENT
  PROCESS USED BY SSA TO OBTAIN DEATH INFORMATION FOR SSA'S PROGRAMS
  AND OFFER RECOMMENDATIONS FOR IMPROVEMENT OF THE PROCESS;
  CONDUCT ANALYSIS OF SSA PAYMENT DATA TO REDUCE CONCERNS IMPROPER
  PAYMENTS
  YOU ARE SUBJECT TO REGULATIONS GOVERNING CONDUCT AND RESPONSIBILITIES OF SPECIAL GOVERNMENT EMPLOYEES.




46. Employing Department or Agency                                                                                50. Signature/Authentication and Title of Approving Official
  SZ - SOCIAL SECURITY ADMIN                                                                                      250727746 / ELECTRONICALLY SIGNED BY:
47. Agency Code                48. Personnel Office ID                  49. Approval Date
 SZ00                              1166                                 02/23/2025                                DIRECTOR, OESS
5íPart 50í316
                                                                        2 - OPF Copy - Long-Term Record - DO NOT DESTROY                                            AFSCME Editions
                                                                                                                                                                           Case         000551NSN 7540í01í333í6238
                                                                                                                                                                                    Prior to 7/91 Are Not Usable After 6/30/93
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Employee 1




                                               Employee 1




                                                       AFSCME Case 000552
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Employee 2




                                     Employee 2




                                                       AFSCME Case 000553
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 Employee 4




                                          Employee 4




                                                     AFSCME Case 000554
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Employee 6




                                            Employee 6




                                                       AFSCME Case 000555
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Employee 9




                                          Employee 9




                                                       AFSCME Case 000556
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Employee 11




                                            Employee 11




                                                     AFSCME Case 000557
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                                                       AFSCME Case 000558
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                                                       AFSCME Case 000559
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                                                       AFSCME Case 000560
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 151 of 205




                                                       AFSCME Case 000561
        Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 152 of 205




Employee 9

Employee 9




   Employee 9




                                                               AFSCME Case 000562
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 153 of 205




                                                       AFSCME Case 000563
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 154 of 205




                                                       AFSCME Case 000564
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                                                       AFSCME Case 000565
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                                                       AFSCME Case 000566
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Employee 6
 Employee 6




Employee 6




                                                         AFSCME Case 000567
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 158 of 205




                                                     AFSCME Case 000568
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 159 of 205




                                                     AFSCME Case 000569
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 160 of 205




                                                     AFSCME Case 000570
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 161 of 205




                                                     AFSCME Case 000571
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 162 of 205




 Employee 3

 Employee 3




Employee 3




                                                     AFSCME Case 000572
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 163 of 205




                                                       AFSCME Case 000573
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 164 of 205




                                                       AFSCME Case 000574
 Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 165 of 205




Employee 1
Employee 1




Employee 1




                                                        AFSCME Case 000575
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 166 of 205




                                                     AFSCME Case 000576
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 167 of 205




                                                     AFSCME Case 000577
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 168 of 205




                                                     AFSCME Case 000578
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 169 of 205




                                                     AFSCME Case 000579
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 170 of 205




Employee 7

Employee 7



Employee 7




                                                     AFSCME Case 000580
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 171 of 205




                                                     AFSCME Case 000581
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 172 of 205




                                                     AFSCME Case 000582
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 173 of 205




                                                     AFSCME Case 000583
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 174 of 205




                                                     AFSCME Case 000584
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 175 of 205




Employee 5




Employee 5




                                                     AFSCME Case 000585
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 176 of 205




                                                       AFSCME Case 000586
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 177 of 205




                                                       AFSCME Case 000587
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                                                       AFSCME Case 000588
Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 179 of 205




                                                       AFSCME Case 000589
        Case 1:25-cv-00596-ELH   Document 121-5   Filed 04/09/25   Page 180 of 205




   Employee 11




Employee 11




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Employee 8




Employee 8




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Employee 4




Employee 4




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Employee 10




Employee 10




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